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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
United States of America
   v.                                           JUDGMENT IN A CRIMINAL CASE
                                                (For Offenses Committed On or After November 1, 1987)
Raul Cristobal-Nicolas
                                                No. 18-61028PO-001-PHX-JFM
                                                Carlos A. Velazquez Marrero (FPD)
                                                Attorney for Defendant
YOB: 1992                         ICE# A215540622

THE DEFENDANT ENTERED A PLEA OF guilty on 5/17/2018 to Count 1 of the Complaint.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS GUILTY
OF THE FOLLOWING OFFENSE(S): violating Title 8, U.S.C. §1325(a)(1), Illegal Entry, a Class B
Misdemeanor offense, as charged in Count 1 of the Complaint.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is committed to the custody of the
Bureau of Prisons for a term of TIME SERVED on Count 1.

                              CRIMINAL MONETARY PENALTIES

The defendant shall pay to the Clerk the following total criminal monetary penalties:

SPECIAL ASSESSMENT: REMITTED                    FINE: NONE                 RESTITUTION: NONE


THE DEFENDANT IS ADVISED OF DEFENDANT'S RIGHT TO APPEAL BY FILING A
NOTICE OF APPEAL IN WRITING WITHIN 14 DAYS OF ENTRY OF JUDGMENT.

The Court orders commitment to the custody of the Bureau of Prisons.

The defendant is remanded to the custody of the United States Marshal.

Date of Imposition of Sentence: Thursday, May 17, 2018

        Dated this 17th day of May, 2018.



                                                                 Honorable James F. Metcalf
                                                                 United States Magistrate Judge
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                                                                              RETURN

 I have executed this Judgment as follows:
                                                                                                                              , the institution
 defendant delivered on                                          to                                     at
 designated by the Bureau of Prisons with a certified copy of this judgment in a Criminal case.


 United States Marshal                                                                            By:        Deputy Marshal



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